

Watson v State of New York (2017 NY Slip Op 01520)





Watson v State of New York


2017 NY Slip Op 01520


Decided on February 28, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 28, 2017

Andrias, J.P., Feinman, Gische, Gesmer, JJ.


125779 3264A 126184

[*1] Tonyia Watson, Claimant-Appellant,
vThe State of New York, Defendant-Respondent.


Tonyia B. Watson, appellant pro se.
Eric T. Schneiderman, Attorney General, New York (David Lawrence III of counsel), for respondent.



Orders, Court of Claims of the State of New York (Thomas H. Scuccimarra, J.), entered October 14, 2015 and (Faviola A. Soto, J.) entered October 22, 2015, which granted defendant's motions to dismiss the claims, unanimously affirmed, without costs.
The Court of Claims properly dismissed the first claim because claimant's service thereof was untimely (see Miles v City Univ. of N.Y., 126 AD3d 609 [1st Dept 2015]; Court of Claims Act § 10[3]). The court also properly found that both claims at issue failed to comply with the pleading requirements of Court of Claims Act § 11(b) (see Lepkowski v State of New York, 1 NY3d 201, 209 [2003]). Notwithstanding claimant's pro se status, strict construction of and compliance with such statutory preconditions to suit under the Court of Claims Act is required (see Kolnacki v State of New York, 8 NY3d 277, 280-281 [2007]).
We have considered claimant's remaining arguments and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: FEBRUARY 28, 2017
CLERK








